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 7                                UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                          )
10                                                      )      Case No. 2:14-cr-0321-KJD-NJK
                           Plaintiff,                   )
11                                                      )      ORDER
     vs.                                                )
12                                                      )      (Docket No. 94)
     KEVIN HALL,                                        )
13                                                      )
                           Defendant.                   )
14                                                      )
15           Pending before the Court is Defendant’s motion to dismiss counsel and appoint new counsel.
16 Docket No. 94. The Court hereby SETS a hearing on the motion for May 27, 2015, at 2:00 p.m. in
17 Courtroom 3A. Defendant and counsel must be present.
18           IT IS SO ORDERED.
19           DATED: May 22, 2015.
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                                                 ______________________________________
22                                               NANCY J. KOPPE
                                                 United States Magistrate Judge
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